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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION


 PAWEL M. KOZLOWSKI,                                                                        Plaintiff,

 v.                                                         Civil Action No. 3:21-cv-561-DJH-CHL

 UNIVERSITY OF LOUISVILLE,                                                               Defendant.

                                              * * * * *

                                               ORDER

           The parties have filed a stipulation of dismissal with prejudice signed by all parties who

 have appeared. (Docket No. 113) Accordingly, and the Court being otherwise sufficiently

 advised, it is hereby

           ORDERED that this action stands DISMISSED with prejudice pursuant to Federal Rule

 of Civil Procedure 41(a)(1)(A)(ii) and is CLOSED and STRICKEN from the Court’s active

 docket.


            June 10, 2025




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